Case 6:19-cv-01159-PGB-TBS Document 1-1 Filed 06/21/19 Page 1 of 2 PagelD 10
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017 CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local miles of court. ‘This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEH INSTRUCTIONS ON NEXT PAGE OF THIS FORM) NOTICES Attorneys MUST Indicate Ali e-filed Cases Below,
La) PLAINTIFFS -)ayip LORENZO CRUZ, individually DEFENDANTS x AI JIE INC, d/b/a Crystal Buffet Hibachi &
Grill, a Florida Corp, and FA RONG ZHANG,

(b) County of Residence of First Listed Ptaintiff Brevard County County of Residence of First Listed Defendant Brevard County
(EXCEPT IN U8. PLAINTIFF CASES) {IN US. PLAINTIFF CASES ONLY)
NOTE; IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVGLYED.
(c} Attorneys.(Firm Name, Address, and Telephone Number} Attorneys (if Known)

Monica Espino, Esq, Espine Law,2655 S. Le Jejune Rd, Ste 802, Coral
Gables, FL 33134 (305)7043172

(d) Check County Where Action Arose: {7 MIAM-DADE C1 MonRoE O BROWARD O PALMBEACH O MARTIN O1ST.LUCIE DUINDIANRIVER DOKEECHOBEE (1 HIGHLANDS

 

HL. BASIS OF JURISDICTION | (Place an "Xx" in One Box Only) IEL CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only} and One Box for Defendant)
C] t U.S. Government vd 3 Federal Question PIF DEF PTF DEF
Plaintiff (8.8. Government Noi a Party} Citizen of This State EJ i [1  lneorporated or Principal Place fl4 44
of Business In This State
C] 2) U.S. Government a4 Diversity Citizen of Another State (12 (1 2 Incorporated and Principal Place (5 013
Defendant (indicate Citizenship of Parties in Lem Hi) of Business In Another State
Citizen or Subject of a (93 (1 3 Foreign Nation (16 [6
Foreign Country

    

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Med, Malpractice:

   
   
          
 

(J $10 Insurance PERSONAL INFURY PERSONAL INJURY — [_] 625 Drug Related Seizure [1422 Appeal 28 USC 158 [] 375 False Claims Act
CI 120 Marine (1310 Airplane ED 365 Personal Injury - of Property 21 USC 881 [423 Withdrawal OC] 376 Qui Tam (31 USC
(1 130 Miller Act (1315 Airplane Product Product Liability 1] 690 Other 28 USC 157 3729 (a))
(1 140 Negotiable Instrument Liability 0 367 Health Cares [] 400 State Reapportionment
(1150 Recovery of Overpayment [] 320 Assault, Libel & Pharmaceutical [J 410 Antitrust

& Enforcement of Judgment Slander Personal Injury (4826 Copyrights [] 430 Banks aad Banking
(4151 Medicare Act (3 330 Federal Employers’ Product Liability (3830 Patent 1 450 Commerce
1] 152 Recovery of Defaulted Liability [J 368 Asbestos Personal OR ea Abbreviated Gh 460 Deportation

Student Loans 1] 340 Mazine Tajury Product (1840 Trad k 4 470 Racketeer Influenced and

(Exch Veterans) f] 345 Masine Product Liability Corrupt Organizations
(1 £53 Recovery of Overpayment Liability PERSONAL PROPERTY [gd 710 Fair Labor Standards £7861 HEA (13954) {J 486¢ Consumer Credit

of Veteran's Benefits (350 Motor Vehicle (1 370 Other Frand Act E862 Biack Lung (923) [] 490 Cable/Sat TV
(1 160 Stockholders’ Suits C1 355 Motor Vehicle ED 371 ‘Froth in Lending ( 720 Labor/Mgmt. Relations [1] 863 DIWC/DIWW (405(2)} £] 850 Securities‘/Commodities/
(190 Other Contract Product Liability [[] 380 Other Personal {1] 740 Railway Labor Act [] 864 SSID Title XVI Exchange
(2 195 Contract Preduct Liability 1] 360 Other Personal Property Damage —_(] 751 Family and Medical [1 865 RSI (405(¢)) LA 890 Other Statutory Aciious
(2 196 Franchise Injury C] 385 Property Damage Leave Act C1 891 Agricultural Acts

CG 362 Personal Injury - Product Liability EJ 790 Other Labor Litigation (1 893 Environmental Matters
[1 791 Emp!. Ret. Inc. LO 895 Freedom of Information
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Security Act : Act
LC] 210 Land Condemnation {] 440 Other Civil Rights Habeas Corpus: (1870 Taxes (U. 896 Axbitration
(A 220 Foreclesure (1 441 Voting L 463 Alien Detainee or Defendant) 899 Administrative Procedure
(4 230 Rent Lease & Ejectment [] 442 Employment O gio, Motioas to Vacate Oo ie Pa ‘Third Party 26 Act/Review or Appeal of |
1} 240 Torts to Land ol 443 Housinyy as Other: Agency Decision ;
C] 245 Tort Product Liability (1) 445 Amer, w/Digabifities - [] 530 General gO Sao onstitationality of State
0 296 All Otber Real Property Employment C1 535 Death Penalty aturalization Application
(446 Amer. w/Disabilities- [] 540 Mandamus & Other {1 465 Gther Immigration
Other [] 550 Civil Rights Actions
(7 448 Education (1 4555 Prison Condition
360 Civil Detainee —
Conditions of
Confirement
¥V. ORIGIN (Place an “X" in Que Rox Onhy) q
ne _ i Transferred from 6 Multidistrict sae
Wi I Pe an C1? Removed 3 ea led Oo #4 Reinstated G > another district Litigation Oo? Appeal to [is Maltidistrict Cs Remanded from
Court below} Reopened (specify) Transfer District Fudge Litigation Appellate Court
from Magistrate ~ Direct
Judgment File
VI. RELATED/ (See instructions): a) Re-filed Case OYES #iNO b) Related Cases CYES vi NO
RE-FILED CASE(S) JUDGE: DOCKET NUMBER:

 

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes untess diversity):

VEL CAUSE OF ACTION 29 USC 216(b), 203(7)(s);203(g), 207(a),206(a);28 USC 1331, 1343(4), 2201, 2202;FLSA 206, 207
LENGTH OF TRIAL viai4 days estimated (for both sides to try entire case)

 

 

 

VIE. REQUESTED IN CHECK IF THIS IS A CLASS ACFION : . i
COMPLAINT: O UNDER FRCP. 23 DEMAND $ CHECK. YES only if demanded in complamt:
JURY DEMAND: W1Yes  CNo
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE ip .
DATE SIGNATURE OF ATTORNEY OF RE .
June 21, 2019 ae Peo
FOR OFFICE USE ONLY . {

RECEIPT # AMOUNT IFP FUDGE MAG JUDGE

 
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INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the
official, giving both name and title.

(b} County of Residence, For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiffresides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)

(c} Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
noting in this section “(see attachment)”,

I. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in

one of the boxes. Ef there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2} When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

III, Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV. Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature
of suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.

V. Origin. Place an “X” in one of the seven boxes,
Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the
petition for removal is granted, check this box.

Refiled (3) Attach copy of Order for Dismissal of Previous case, Also complete VI.
Reinstated or Reopened, (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date,

Transferred ftom Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do net use this for within district transfers or multidistrict
litigation transfers.

Muitidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C, Section 1467, When this
box is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7} Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI. _—_-‘Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the

corresponding judges name for such cases,

VO. Cause ef Action. Report the civil statute directly related to the cause of action and give a brief description of the cause, Do not cite jurisdictional

statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
Brief Description: Unauthorized reception of cable service

VITL Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.?P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.

Jury Demand. Check the appropriate box to indicate whether or not a fury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet.

 

 
